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                                           June 1, 2022


VIA ECF
Honorable Elizabeth S. Stong
United States Bankruptcy Court
271-C Cadman Plaza
Suite 1595
Brooklyn, NY 11201

       Re:     Golden v. Firstmark Services, LLC -- Adv. Proc. No. 17-1005

Dear Judge Stong:

       We are attorneys for a defendant Pennsylvania Higher Education Assistance Agency
(“PHEAA”). We write in response to the letter dated May 31, 2022 from George Carpinello, one
of the attorneys for plaintiff, with which plaintiff submitted a proposed order concerning the
Court’s partial ruling on plaintiff’s motion to compel as it relates to PHEAA..

        PHEAA objects to the proposed order submitted by plaintiff. For the reasons set forth
below, PHEAA respectfully requests that the Court decline to sign the proposed order submitted
by plaintiff.

        First, plaintiff did not provide PHEAA and its counsel sufficient opportunity to review the
proposed order. In undue haste, plaintiff submitted the order yesterday without waiting to hear
back from PHEAA. When I returned to New York City last night at approximately 8 PM after the
holiday weekend, I saw that there was an email from Mr. Carpinello in my mailbox that was sent
at 12:50 PM. Rather than waiting to hear from me or to check on my status during the afternoon,
Mr. Carpinello submitted the proposed order by ECF a little after 5:30 PM yesterday afternoon.
There was no good faith effort to await a response from PHEAA, and there was no reason why the
order had to be submitted so quickly, especially since plaintiff submitted the order two weeks after
the hearing before the Court.

        Second, with respect to the first decretal paragraph regarding the order to produce
documents responsive to Request L, that paragraph should be modified to reflect the fact that
PHEAA has already made substantial production in response to that request. In fact, during the
course of the May 23 hearing, the discussion was solely about documents relating to the originators
of the private loans serviced by PHEAA. The order as to Request L should contain such a
limitation.

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        Third, and most important, the 30-day window for production is patently unreasonable and
unfair. We have not had an opportunity to consult with PHEAA as to how much time is necessary
to review the 129,000 files (each of which have numerous papers that must be reviewed to see if
they make any reference to the identity of the originator and whether the originators are a nonprofit
lender) for responsive documents, but assuredly 30 days is not a reasonable period of time. Such
a turnaround date would require more than 5000 files (including the many pages in each file) to be
reviewed each and every day, with no time off for weekends or the upcoming Fourth of July
holiday, in order to comply with such a deadline. That burden is an impossible one. It is highly
doubtful that PHEAA, even with an army of staff attorneys, could review more than 300 to 400
loan files per business day.

       We respectfully request that we be given an opportunity to confer with PHEAA to assess
the amount of manpower and time necessary to perform the task before the Court signs the any
order. We commit to come back to the Court before the close of business on June 3, 2022 to
provide a report as to what would be a reasonable date for production of documents responsive to
requests L and M. At that time, PHEAA would also submit a proposed counter order.

       Thank you for Your Honor’s consideration.

                                              Respectfully,

                                              /s/ H. Peter Haveles, Jr.

                                              H. Peter Haveles, Jr.

cc:    All counsel of record
